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                                  2                      OPDA00124
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                                  3                      OPDA00130
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                                  4                      OPDA00180
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                                  5                      OPDA00132
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